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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION
                                  www.flsb.uscourts.gov

In re:

RALPH LEVI SANDERS, JR.                                              Case No. 22-14766-SMG

                                                                     Chapter 13
      Debtor.
______________________________/

     DEBTOR’S COUNSEL’S MOTION TO WITHDRAW AND MOTION FOR
  EXTENSION OF TIME TO COMPLY WITH ALL OUTSTANDING DEADLINES IN
                     RELATION TO THIS MATTER

         Undersigned counsel, as attorney for the debtor, RALPH LEVI SANDERS, JR., hereby

moves the court for entry of an order permitting the withdrawal of Ron S. Bilu, Esquire, Nicholas

G. Rossoletti, Esquire, Andrea Valencia, Esquire and Bilu Law, P.A. as attorney for the debtor and

the extension of all outstanding deadlines in relation to this matter and states:

    1. Ron S. Bilu, Esquire, Nicholas G. Rossoletti, Esquire, Andrea Valencia, Esquire and Bilu

         Law, P.A. are presently counsel for the Debtor, Ralph Levi Sanders, Jr.

    2. Irreconcilable differences have arisen between counsel and the debtor which require the

         withdrawal of counsel.

    3. The Debtor is in the process of retaining counsel relating to claims relating to the title of

         his principal residence as well as attempting to modify the mortgage on his homestead

         property through the Mortgage Modification Mediation Program. Specifically, the Debtor

         is in the process of engaging with South Florida Water Management relating to issues on

         the title to his homestead property. The Debtor requires additional time to engage

         replacement counsel as well as to deal with the issues involving South Florida Water

         Management more fully.


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   4. As such, the Debtor requests an extension of all deadlines in this matter, including but not

       limited to, an extension of time to file and comply with the requirements of the Mortgage

       Modification Mediation Program.

   WHEREFORE, undersigned counsel requests that the court enter permitting the withdrawal

of Ron S. Bilu, Esquire, Nicholas G. Rossoletti, Esquire, Andrea Valencia, Esquire and Bilu Law,

P.A. and extend all deadlines in this matter, including but not limited to, an extension of time to

file and comply with the requirements of the Mortgage Modification Mediation Program.




                                                            Respectfully Submitted,

                                                            /s/ Nicholas G. Rossoletti_________
                                                            NICHOLAS G. ROSSOLETTI
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